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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 19-20603-CR-COOKE

  UNITED STATES OF AMERICA

  Vs.

  ABDUL MAJEED MAROUF AHMED ALANI
  ________________________________________/

                                    NOTICE OF SENTENCING DATE

  TO: DEFENDANT, DEFENSE COUNSEL, AND U.S. ATTORNEY’S OFFICE

         By direction of the Honorable MARCIA G. COOKE, United States District Judge, YOU ARE
  HEREBY ORDERED to appear in the United States District Court for the Southern District of Florida on
  March 4, 2020, at 1:30 p.m. for imposition of sentence. On that date, report to the U.S. District
  Courthouse, Courtroom 11-2, 400 North Miami Avenue, Miami, FL 33128-1810, where sentence will be
  imposed. You will receive no further notice.

          If the above-named defendant has executed a bond with this Court, let this notice advise the
  defendant that failure to appear as directed herein could result in his/her being charged with a violation of
  the Comprehensive Crime Control Act (18 U.S.C. Sec.3146), which carries a maximum sentence of up to
  ten (10) years imprisonment and a fine of $25,000, or both, if convicted.

         IT IS FURTHER ORDERED that a Pre-sentence Investigation and Report to this Court will be
  completed. DEFENSE COUNSEL IS TO REPORT THIS DATE TO THE UNITED STATES
  PROBATION OFFICE OF THE COURT FOR INTERVIEW AND FURTHER INSTRUCTION TO
  THE 9TH FLOOR OF THE COURTHOUSE. IF ON BOND, THE DEFENDANT SHALL REPORT TO
  THE PROBATION OFFICE ALSO.

          IT IS FURTHER ORDERED that the U.S. Attorney’s Office immediately provide the U.S.
  Probation Department the necessary information to prepare the Prosecution of the Pre-sentence Report.

                                                            Angela E. Noble, Clerk of Court

                                                            By: Ivan Marchena
                                                            Courtroom Deputy Clerk

  DATE: 12/18/19
  AUSA: Randy Hummel
  COUNSEL: Jonathan Meltz, Esq.

  GUILTY PLEA: X                                    BOND:
  TRIAL:                                            USM/FEDERAL CUSTODY:              X
  TO COUNT (S): 1
